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 6                                         UNITED STATES DISTRICT COURT
                                                DISTRICT OF NEVADA
 7

 8                                                           )              Case #2: 77 -cv-0248 5 -JCM-CW
         JOSE MENDOZA JR., et al.                            )
 9                                                           )
                                                             )          VERIFIED PETITION FOR
l0                         Plaintiff(s),                     )          PERMISSION TO PRACTICE
                                                             )          IN THIS CASE ONLY BY
ll                VS.                                        )          ATTORNEY NOT ADMITTED
                                                             )          TO THE BAR OF THIS COURT
l2       AMALGAMATED TRANSIT UNION                           )          AND DESIGNATION OF
         INTERNATIONAL, et al.                                          LOCAL COUNSEL
13
                           Defendant(s).
l4                                                                      FILING FEE IS $25O.OO
l5
t6                           Jacob Karabell                 Petitioner, respectfully represents to the Court:
                            llame                )
17
                           That Petitioner is an attorney at law and a member of the law firm of
l8
                                                     Breclhoff & Kaiser, PLLC
l9                                                           (fìrm narne)

20       with offices at                                805 15th Street, NV/, Ste., 1000
                                                                  (street         )
2t
                           Washington                                   District o['Columbia             20005            ,
22                                                                                (state)               (zip code)

23                  (202) 842-2600                               j karabell(@bredhoff.      com
           area       +        ne num       r)                        (Email address)
24
                  2.       Tbat Petitioner has been retained personally or as a member of the law firm by
25
         Arnalgamated Transit Union International, et al. to provide legal
                                                                           representation in connection rvith
26                         [client(s)]

27       the above-entitled case now pending bef'ore this Court.

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 I           3.       That   since          81912010      , Petitioner has been and presently is a
                                         (date)
 2   member in good standing of the bar of the highest Court of the State of    District of Columbia
 a
 J   where Petitioner legularly practices law. Petitioner shall attach a certificate t        [irTtSì"te bar or
                                                                                         "*
 4   from the clerk of the supreme court or highest admitting couft of each state, territory. or insular

 5   possession of the United States in which the applicant has been admitted to practice law certifying

 6   the applicant's membership therein is in good standing.

 7           4.       That Petitioner was admitted to praotice before the following United States Distriot

 8   Coutts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts

 9   of other States on the dates indicated fbr each, and that Petitioner is presently a member in good

l0   standing of the bars of said Coufts.

ll                            Court                         Admitted
                                                               Date                       Bar Number

l2    United States District Court, District of Columbia Nov . 7,2}ll                           996066

13                7th Circuit Court of Appeals                  May I1,2012

t4                D.C. Circuit Court of Appeals                 April 15, 20I I                  53401

l5                United States Supreme Court                  October 7,2013

t6
17

l8
t9
             5.       That there are or have been no disciplinary proceedings institnted against petitioner,
20
     nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
2l
     or adr¡inistrative body, or any resignation or termination in order to avoid disci¡rlinary or
22
     disbarment               s, except as described in detail below:
23
            "none" if Petitioner has no disciplinary proceedings, etc.)
24
         None
25

26

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                                                        2                                                Ilev.5il6
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 l            6.         That Petitioner has never been denied adrnission to the State Bar of Nevada. (Give

 2   particulars if ever denied admission):

 J          "none" if Petitioner has never been denied aclmission.)
 4
              None
 5

 6            7   .      That Petitioner is a member of good stancling in the following Bar Associations

 7    State "none" if Petitioner is not a member of other Bar Associations.)

 8
             The New York State Bal
 9           The District of Columbia Bar

l0            8.         Petitioner has fìled application(s) to appear as counsel under Local Rule lA,ll-2

ll   (f'ormcrls.LR IA l0-2) during the past three (3) years in the following tnatters: (State "none" if no applicarions.)

12   Date of Application                 Cause                         Title of Court                  Was Application
                                                                     Administrative Body                 Granted or
l3                                                                     nr A rhitrafnr                      l)en i ed

t4                None

15

l6
t7
l8
19                        (lf necessary, please attach a statement of additional applications)
20           9.          Petitiotrer consents to the jurisdiction of the courts and disciplinary boards of the

21   State of'Nevada with respect to the law ot'this state governing the conduct of attorneys to the same

22   extent as a member of the State Bar of Nevada.

23            I   0.     Petitioner agrees to comply with the standards of prof'essional conduct required of

24   the members of the bar of this court.
25            1   1.     Petitioner has disclosed in writing to the client that the applicant is not adr¡itted to

26   practice in this jurisdiction and that the client has consented to such representation.

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     I               That Petitioner respectfìrlly prays that Petitioner be admitted to practice before this Court

     2       FOR THE PURPOSES OF THIS CASE ONLY
     a
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     4
             STATE g¡ District of Colurnbia
                                                                                           S

                                                      )
     5                                                )
             COUNTY OF               Washington       )
     6

     7                     Jacob R. Karabell          Petitioner, being first duly sworn. deposes and

     8       That the foregoing statements are true.

     9
                                                                                           SSI
    10       Subscribed and sworn to bef'ore me this

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                                otary         or
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3
     6                        DESIGNATION OF R.ESIDENT ATTORNBY ADMITTED TO
                               THE BAR OF THIS COURT AND CONSENT THERETO.
                     Pursuantto the tequirements of'the Local Rules of Practice forthis Court, the Petitioner
    l8
             believes it to be in the best interests of the client(s) to designate               Evan L. James
    t9                                                                                    (name of local counsel)
             Attorney al.Law, member of the State of Nevada and previously admitted to practice before the
    20
             above-entitled Court as associate resident counsel in this action. l'he address and email address of
    2t
             said designated Nevada counsel is:
    22

    23                                                    7440 W. Sahara Ave.
                                                             (street       )
    24
                                Las V                                           Nevada                       891 l7
    25                           c                                               state                       zlp       e

    26                   702-255-t718                                   elj@cjrnlv.corn
              area        +             num                            (Email address)
    27

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